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         IN CLERK'S OFFICE
     U.S. DISTRICT COURT E.D.N.Y.
     ^CCDiq9ni8               ★      UNITED STATES DISTRICT COURT
     ^ 5tr 13 ^Uio                   EASTERN DISTRICT OF NEW YORK
     BROOKLYN OFFICE
                                                                   cv
            EMPRESARIO EN DESARROLLO,CORP.                               Case No.: 18-cv-


                                        Plaintiff,                       JURY DEMANDED


                                V.



            MARIA PASTRANA,JULIO PASTRANA,                                         COGAN, J.
            JUANA POLONSKI,DEMAN SALOMON
            MYVETT,and JUAN CARLOS FUENTES,

                                        Defendants.



                    Plaintiff, by his undersigned attorneys, sets for the following as its complaint

            against the above-named defendants:

                                                     The Parties


            1.      Plaintiff Empresario En Desarrollo, Corp.,is a domestic corporation formed under

            the Laws ofthe State ofNew York, with its principal office located with this judicial

            district in Queens County,New York. Plaintiffs primary business operation is the

            distribution and sale of gourmet coffees under the trademark, ORGANOVIT.

            2.      Defendant Maria Pastrana, is a resident ofthe State of California, and a former

            independent contractor ofPlaintiff. Upon information and belief. Defendant Maria

            Pastrana resides at 527 Tullock Street, Floor 1, Bloomington, California 92316.

            3.      Defendant Julio Pastrana, is a resident ofthe State of California, and a former

            independent contractor ofPlaintiff. Upon information and belief. Defendant Maria

            Pastrana resides at 527 Tullock Street, Floor 1, Bloomington, California 92316.




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4.      Defendant Juana Polonski is a resident ofthe State of California, and a former

independent contractor ofPlaintiff. Upon information and belief. Defendant Maria

Pastrana resides at 48 Chester Street, Daly City, California 94014.

5.      Defendant Juan Carlos Fuentes is a resident ofthe State of California, and a

former independent contractor ofPlaintiff. Upon information and belief. Defendant Juan

Carlos Fuentes resides at 2448 N.Naomi Street, Burbank, Califomia 91504.

                                    Nature of the Action


6.      This is a diversity action for breach ofcontract, breach ofthe implied covenant of

good faith, unfair competition under the Lanham Act, and tortious interference with

business relations.

                                  Jurisdiction and Venue


7.      The jurisdiction ofthis Court is invoked under 28 U.S.C. §1338(a), as it is an

action arising under Acts of Congress relating to the Lanham Act, 15 U.S.C. §1051 e/

seq., specifically, 15 U.S.C. §1125 (a)(1)(B). This Court has pendentjurisdiction over

claims arising under State law pursuant to 28 U.S.C. §1338(b).

8.      This Court also has diversity jurisdiction over the controversy as it involves the

citizens and residents of different States, and the amount inn controversy is in excess of

$75,000, exclusive ofinterest and costs, pursuant to 28 U.S.C. §1332.

9.      Venue is proper within this judicial district pursuant to 28 U.S.C. §1391(c)(2), as

Plaintiff maintains its principal place of business within the judicial district.

                         Facts Common to All Causes of Action


10.    During the month of January 2018, while within the State ofNew York,each of

the Defendants entered into separate form agreements("Sales Rep Agreement")to




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become sales representatives to market and sell PlaintifT's organic gourmet coffee under

the brand and trademark Organovit.

11.    Each Sales Rep Agreement entered into by each ofthe Defendants required that

Plaintiffs information provided to the Defendants was confidential and proprietary,

specifically but without limitation, customer lists,"price points," marketing plans,

strategic business market expansion and sales techniques.

12.    Each Sales Rep Agreement also provided that upon the termination of the

contractual relationship, all physical and digital copies ofPlaintiffs proprietary

information within Defendants' possession had to be returned or destroyed by Defendants

upon the termination ofthe relationship between Plaintiff and Defendants.

13.    Each Sales Rep Agreement required that any ofPlaintiffs proprietary information

in the Defendants' possession must be used solely for the Plaintiffs benefit.

14.    Each Sales Rep Agreement required that none ofthe Defendants may start a

competing business or work for a competing business in Plaintiffs relevant market.

15.    Starting at least as early as May 2018, Defendants coordinated a campaign to post

on various social media platforms, available within and without this judicial district.

Plaintiffs proprietary information.

16.    Starting at least as early as May 2018, Defendants coordinated a campaign to post

on various social media platforms, available within and without this judicial district, false

or misleading information about Plaintiff, in an effort to discourage prospective sales

representatives to work with Plaintiff.

17.     Starting at least as early as May 2018, Defendants coordinated a campaign to

post on various social media platforms, available within and without thisjudicial district.



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false or misleading information about Plaintiff, in an effort to recruit representatives to

work for Plaintiffs competitors.

18.     Starting at least as early as May 2018,each ofthe Defendants contacted other

sales representatives contractually bound with Plaintiff and urged these representatives to

leave their association with Plaintiff.

19.    In June 2018,Plaintifftransmitted "cease and desist" letters to each ofthe

Defendants warning oftheir breaches to the Sales Rep Agreement.

20.     All ofthe Defendants ignored Plaintiffs written warnings and failed to respond in

any manner.


                                     First Cause of Action


                          (Breach of Contract — Actual Damages)

21.    Plaintiffrepeats each ofthe allegations set forth in Paragraphs"1"through "20,"

as if more fully set forth herein.

22.    The Sales Rep Agreement between Plaintiff and Defendants required that they

would not publicly release Plaintiffs proprietary information for any purpose other than

for the Plaintiffs commercial benefit.

23.    Defendants used Plaintiffs proprietary information in their possession for the

purposes ofcausing economic harm to Plaintiff and/or to advance the business interest of

Plaintiffs competitors.

24.    Defendants' improper use ofPlaintiffs proprietary information was a breach of

Defendants' Sales Rep Agreement with Plaintiff.

25.    As a result of Defendants' breaches. Plaintiff has been damaged in an amount to

be proven at trial but is believed to be in excess of at least $100,000.



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                                     Second Cause of Action


                      (Breach ofImplied Covenant of Good Faith)

26.     Plaintiffrepeats each ofthe allegations set forth in Paragraphs"1"through "25,"

as if more fully set forth herein.

27.    In Defendants' social media posts complained of herein. Defendants included

false, misleading and disparaging statements about Plaintiff and its products.

28.     The Sales Rep Agreement contains a specific clause prohibiting former sales

representatives from making any disparaging statements or opinions against Plaintiff.

Defendants' false, misleading and disparaging public statements constitute a breach of

the implied covenant ofgood faith.

29.    Upon information and belief. Defendants breach ofthe implied covenant ofgood

faith has caused some ofPlaintiff's other sales representatives and prospective sales

representatives to terminate their association with Plaintiff.

30.     As a result ofthe breach ofthe implied covenant ofgood faith. Plaintiff has been

damaged in an amount to be determined at trial but these damages are believed to be at

least $100,000.

                                     Third Cause of Action


                     (Violations of 15 U.S.C. Section 1125(a)(1)(B))

31.    Plaintiffrepeats each ofthe allegations set forth in Paragraphs"1"through "30,"

as if more fully set forth herein.

32.    In recent years, many companies and entrepreneurs have used social media to

advertise and promote their brands.




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33.     Defendants have used their social media posts to make false and misleading

statements as to the nature and qualities ofPlaintiffs coffees and its sales techniques

within the relevant market and in doing so,they have identified both the Plaintiff's

corporate name and its trademark Organovit.

34.     These false statements have been made in conjunction with posts used to promote

Defendants' competing goods and services.

35.     Defendants false and misleading statements used in their promotional posts have

damaged Plaintiffin violation of 15 U.S.C. §1125 (a)(1)(B).

36.     As a result of Defendants' violations of 15 U.S.C. §1125 (a)(l)(B),Plaintiff has

been damaged in an amount to be determined at trial but these damages are believed to be

at least $50,000.

                                      Fourth Cause of Action


      (Tortious Interference With Contract and Prospective Business Relations)

37.     Plaintiffrepeats each ofthe allegations set forth in Paragraphs"1"through "36,"

as if more fiilly set forth herein.

38.     Plaintiff had numerous Sales Rep Agreements wdth persons other than the

Defendants.

39.     Defendants had knowledge ofPlaintiffs other sales representatives and

purposefully and willfully interfered with these relationships by encouraging these

representatives to terminate their relationships with Plaintiff.

40.     Defendants had knowledge ofpersons who expressed interest in becoming sales

representatives for Plaintiff and made inquires.




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41.    Defendants learned ofthese prospective sales representatives and actively,

intentionally and purposefully discouraged these prospects from working with Plaintiff.

42.    These activities constitute tortious interference with existing contractual

relationships and prospective contractual relationships under New York State law.

43.    As a result of Defendants' tortious interference with contractual relations.

Plaintiff has been damaged in an amount to be determined at trial but these damages are

believed to be at least $50,000.

       WHEREFORE,Plaintiffrespectfiilly requests that this Honorable Court grant

judgment over and against Defendants and award the following relief:
           a. a monetary damages award ofat least $100,000 for the First Cause of
               Action;

           b. a monetary damages award ofat least $100,000 for the Second Cause of
               Action;

           c. a monetary damages award ofat least $50,000 for the Third Cause of
               Action;

           d. a monetary damages award of at least $50,000 for the Fourth Cause of
               Action;

           e. preliminary and permanent injunctive relief enjoining Defendants,jointly
               and severally, from engaging in the illegal and wrongful conduct

               complained of herein;

           f. pre-judgment interest, costs and all other and further relief deemed just
               and appropriate by the Court.




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Dated: New York, New York
      September 12,2018


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                CORPORATE DECLARATION & VERIFICATION


       Cesar Juarez, declares the following under the penalty of pequry:

I am the president ofPlaintiff Empresario En Desarrollo, Corp. I have reviewed the

foregoing complaint and that the allegations contained therein are true, correct and

alleged in good faith, to the best of my personal knowledge.

Dated: New York,New York
       September 13,2018


                                             CcmJuarez,President
                                             Empresario En Desarrollo, Corp.




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